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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF GEORGIA
                                  MACON DIVISION

SAMMY LEE WILLIAMS,                              *

                     Petitioner,                 *
v.                                                   Case No. 5:21-CV-00263-TES-CHW
                                                 *
STATE OF GEORGIA PEACH COUNTY,
                                                 *
                  Respondent.
___________________________________              *


                                     JUDGMENT

       Pursuant to this Court’s Order dated November 15, 2021, and for the reasons stated

therein, JUDGMENT is hereby entered dismissing this case. Petitioner shall recover nothing of

Respondent.

       This 16th day of November, 2021.

                                          David W. Bunt, Clerk


                                          s/ Tydra Miller, Deputy Clerk
